     Case 0:21-mj-06127-PMH Document 1 Entered on FLSD Docket 03/08/2021 Page 1 of 9




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                          PETERSON BENJAM IN,                                                     Assigned To :Hogan,Thomas F.
                                                                                                  Assign.Date :3/2/2021
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      AbettingandCausinganActtobeDonel'
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      Firearm Duringa CrimeofViol
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Case 0:21-mj-06127-PMH Document 1 Entered on FLSD Docket 03/08/2021 Page 3 of 9




           6.     MarieQuinewasacitizenoftheUnitedStatcs.
           7.     DefendantPETERSON BENJA M IN wasacitizen ofHaiti.

           8.     Alleventsalleged in this Indictmentlook place within thecountry ofHaiti,in the

    extratei torialjurisdiction ofthe United Statem and,pursuantto Title 18,United StatesCode,
    Section 3238,within thevenueofthe United StatesDistrictCourtfortheDistrictofcolumbia.

                                       TH E CO NSPIRACY

           9.     Beginning on or about M arch 5,2020, and continuing through on or about

    November8,2020,defendantPETERSON BENJAM IN did knowingly conspircand agreewith

    individnals whose identitiesare nnknown to the Grand Jury.to seize and detain and threaten to

    kill,toinjure,and tocontinueto detainUnitedStatesnationalsinordertocompelathirdperson
    to pay ransom forthe release ofthose individualsasan explicitand implicitcondition fortheir

    release.
                                            OvertActs
                                                 -       -




           10. In furthernnceoftheconspimcy,andto accomplish theobjectthereof,defendant
    PETERSON BENJAM IN,and otbers unknown to the Grand Jury,comm itted orcaused to be

    com mitttd thefollowing overtacts,among others:

                  û.     On or aboutM arch 5,2020,members ofthe conspiracy forced Charles

    W ienerfrom hisvehicleatgunpoint,and kidnapped him .
                  b.     On oraboutM arch 5,2020.through on oraboutMarch 8,2020.members

    ofth:conspiracy forced CharlesW ienertostay ln abuildingagainsthis* 11.
                         On oraboutM arch 5.2020.through onoraboutM arch 8,2020,defendant
    PETERSON BENJAM IN,togetherwith conspirators unknown to the Grand Jury,negotiated a

    ransom paymentin exchange forCharlesW iener'srelease from captivity.


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Case 0:21-mj-06127-PMH Document 1 Entered on FLSD Docket 03/08/2021 Page 4 of 9




                  d.      On oraboutM arch 8.2020,defendantPETERSO N BENJAM IN , together

    with conspirators tmknown to the Grand Jury,collected a ransom paymentofapproximately

    $19,000 U.S.dollarsbefore releasing Charlesm ener.
                  e.     On oraboutOctober 30,2020,m cmbers ofthe conspiracy forced minor

    children ''EM G ''CSM AG '':SM YG ''and theirtbther.4$W G,''a Haitian citizen,from theirvehicle

    atgunpoint,and kidnapped them .

                         On oraboutOctober 30,2020,through on or aboutNovember 1.2020,

    mem bers of the conspiracy forced minorchildren :'EM G,''S:M AG,'':'M YG,''and theirfather,

    iiw G,''aHaitian citizen,to stay in abuildingagainsttheirwill.
                  g.     On or aboutOctober 30,2020,through on oraboutNovember l,2020,

    defendantPETERSON BENJAM IN,togetheFwith conspirators unknown to the Grand Jury,
    negotiated a ransom      payment in exchange for '4EM G '' è'M AG '' S4M YG '' and

    $iW G's''releasefrom captivity.
                  h.     On or aboutNovember 1, 2020,defendant PETERSON BENJAM IN,

    together with conspirators unknown to the Grand Jury. collected a ransom paymentof the

    equivalentofapproximately$1l,800.
                                    U.S.dollnm beforereleasing:%EM G,''GM AG,''CtM YG,''and

    Sçll/rtyj1%
                          On oraboutNovember6,2020,membersofthe conspimcy forced M arie
                                                  *

    Quinefrom hervehicleatgunpoint.and kidnappedher.
                  j.      On oraboutNovember6,2020,throughonoraboutNovember8,2020,
    membersoftheconspiracyforced MarieQuinetoMayinabuildingagainstherwill.
                  k.      On oraboutNovem ber6,2020,through on oraboutNovember8,2020,

    defendantPETERSON BENJAM IN,together with conspirators unknown to the Grand Jury,
Case 0:21-mj-06127-PMH Document 1 Entered on FLSD Docket 03/08/2021 Page 5 of 9




    negotiatedaransom paymentinexchangeforMarieQuine'sreleasefrom captivity.
                        On or aboutNovembeq',2020,defendant PETERSON BENJAM IN,
    together with conspirators unknown to tht Grand Jury.collected a mnsom paym ent of the

    equivalentofapproximately$16,000U.S.dollarsbeforereleasingM arieQuine.
           (Conspiracy toCemmitHostageTaking,in violationofTitle l8.United States
           Code,Section 1203(a)).
                                          COUNT TW O

           11.   Theallegationssetforth inparagraphs1through 10 arere-allegedand incom orated

     by referenceasthough setforth herein.

           12.   From on oraboutM arch 5,202k,through on oraboutM arch 8,2020,defendant
    PETERSO N BENJAM IN,togetherwithconspimtorstlnknownto theGrand Jury.did knowingly

    seizeanddetainandthreatento kill,toinjure,andtocontinuetodetainCharlesW iener,aUnited
    Statesnational.in ordertocom pelathird person topay ransom forthe releaseofCharlesW iener,

    asanexplicitand implicitcondition forthe releaseofCharlesW iener,and did aid and abetothers

    unknown to theGrand Jury to do thesame.

           (HostageTakingand Aiding and Abettingand Causingan Ad tobeDone,in
           violationofTitle l2.UnitedStatesCode.Sections1203(a)and2).
                                         COUNT THREE
                                                 *

           13. n e allegationssetfodh in pafagraphs 1through 10.and 12 are re-alleged and
    incomoratedby referenceasthough setforth herein.
           14.    From on oraboutM arch 5,2020,through on oraboutM arch 8,2020,defendant

    PETERSON BENJAM IN.togetherwithconspiratorsunknowntotheGrand Jury.did unlawfully
    usescarry,and brandish a tlrearm,and did aid and abetothersunknown to the Grand Jury to do

    the same,during and in relation to,and posscsssaid tlrearm in furtherance of,acrimeofviolence
Case
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     0:21-mj-06127-PMH Document 1 Entered on FLSD Docket 03/08/2021 Page 6 of 9




    forwhichhemaybeproseculedinaCourtoftheDnitedStates,thatis,HostageTaking,inviolation
    ofTitle 18,United StatesCode,Section 1203.assttfbrth inCountTwo ofthisIndictment.

           (Using,Caro ing,Brandishlng and Pessessing a Firearm During a Crimeof
           Vialeneeand Aiding and Abetting and Causingan Aette beDone.in violation
           ofTitle 12,United StatesCode,Sections924(c)(1)and2).
                                            COUNT FO UR

           15.    n e allegationssetforthinparagraphs1through 10 arere-alleged andincom orated

    by referenceasthough setforth herein.
           16.    From on or about October 30,2020,through on or aboutNovember 1,2020,
                                                 *

    defendantPETERSO N BENJAM IN,togethefwithconspiraorsunknown to theGrandJury,did

    knowingly seizeanddetain and threaten tokill,to injure,and to continuetodetain minorchild
    '4EM G,''a United Statesnational,in orderto com pelathird personto pay ransom forthe release

    ofm inorchild REM G''asan explicitand implicitcondition forthe releaseofminorchild HEM G,''

    and did aid andabetothersunknown to theGrandJury to dothesam e.
           (HostageTakingand AidingandAbetting and Causingan Aetto beDone,in
           violationofTitle18.UnitedStatesCode.Sections 1203(a)and2).
                                            COUNT FIVE

           17. Theallegationssetforthinpnmgzaphs1through 10arere-allegedandincorporated
    by refcrenceasthough setforth herein.
           18.    From on or about October 30.2020,through on or aboutNovember 1,2020,

    defendantPETERSON BENJAM IN,togetherwith conspiratorsunknown to theGrandJury,did

    knowingly seizeand detainand threaten to kill,to injure.and tocontinueto detainminorchild
    S*M AG,''aUnited Statesnational,in ordertocompelathirdperson to pay ransom forthereltase




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Case 0:21-mj-06127-PMH Document 1 Entered on FLSD Docket 03/08/2021 Page 7 of 9




    ofminorchildSCMAO''asanexplicitand implicitcondition forthereleaseofm inorchild:SM AG,''

    and didaid and abetothersunknown totheGrandJurytodothesam e.

          (HostageTakingandAidingand Abetting :ndCausingan Actto beDone,in
          violationofTitle18,United StatesCode,Sections1203(a)and2).
                                            COUNT SIX
           19.   Theallegationssetforthin paragraphs1through l0arere-allegedandincorporated

    by referenceasthough settbrth herein.
          20.     From on oraboutOctober 30!Q020,through on or aboutNovember 1.2020,

    defendantPETERSON BENJAM IN,togetherwith conspimtorsunknowntotheGrandJury,did

    knowinglyseizeand detain andthrtatcn tokill.toinjure,and tocontinueto detain minorchild
    GM YG,''a United Statesnational,in otderto compelathird person to pay ransom forthe release

    ofminorchildI'M YG''asanexplicitand implicitcondition forthereleaseofminorchildi'M YG,''

    anddid aid andabetothersunknown to theGrand Jury to do thesame.

          (HostageTakingandAidingandAbetting and Causing an ActtobeDone,in
          violationofTitle1#,UnitedStatesCode,Sections1203(a)and2).
                                         COVNT SEVEN
          21.     The allegations setfbrth in paragraphs 1-10,16,l8,and 20 are re-alleged and

    incorporated byreference asiffully setforth herein.
           22.    From on or about October 30,2020,through on or aboutNovember 1,2020,
    defendantPETERNON BENJAM IN.togetherwithconspiratorsunknowntotheGrandJury,did

    unlawfully use,carry.and bmndish asrearm.and did aid and abelothersunknown lo the Grand

    Jury todo the same.during and in relation to,and possesssaid tlrearm in furtherance of,a crime

    ofviolenceforwhichhemaybeprosecutedinaCourtoftheUnited States,lhatis,HostageTaking,




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Case 0:21-mj-06127-PMH Document 1 Entered on FLSD Docket 03/08/2021 Page 8 of 9




     in violation ofTitle 18,United StatesCode,Sectiôn I203,assetforth in CountsFour,Five and
     Six ofthis lndictm ent.

            (Using.Carq ing,Brandishlng and Possexsing a Firearm During a Crime of
            Violeneeand A iding and A betting and Cauging an Aetto be Done,in violation
            ofTitle 18,United StatesCode,Sections924(c)(1)and 2).
                                            COPNT EIGHT

            23. n eallegationssctforthinparagraphs1through 10arere-allegedandincomorated
     byreferenceasthoughsetforth herein.
            24.' From on oraboutNovember 6,2020,through on oraboutNovember8,2020,
     defendantPETERSON BENJAM IN,togetherwithconspiratorsunknowntotheGrandJul ,did

     knowinglyseizeanddetainandlhreatentokill,toinjure,andtocontinuetodetainMarieQuine,
     inorderto compelathird person tdpay ransom forthereleaseofMarie Quine,asanexplititand
     implicitconditionforthereleaseofMarieQuine,anddidaidandabetothersunknowntotheGrand
     Ju@ to do lhe snmc.

            (HostageTakingand AidingandAbeœingand CausinganActtobeDene,in
            violationofTitle l8,Uniled StatesCode.Sectionsl203(a)and2).
                                             CO UNT NINE

            25,    Theallegationssetforthin pnmgraphs1-l0and24are re-alleged andincom orated

     by referenceasiffully setforthherein,

            26.    From on oraboutNovember6,2020,through on oraboutNovember 8,2020,

     defendantPETERSON BENJAM IN,togetherwithccnspiratorsunknowntotheGrandJury,did

     unlawtklly use,carry,and brandish afireann,and did aidandabetothersunknownto the Grand
     Jury to do the same,during and in relation to,and possess in furtherance of.a crime ofviolence
Case 0:21-mj-06127-PMH Document 1 Entered on FLSD Docket 03/08/2021 Page 9 of 9




     forwhichhemaybeprosecutedinaCourtoftheUnited States,thatis,HostageTaking,inviolation

     01-Titlc l:.United StatesCode.Scdion 1203,assetfonh inCountEightofthisIndictment.

           (Using.Carrying,Brandishing and Possessing aFiregrm During aCrimeof
           V iolence and Aiding and Abctting and Causing an A etto be Done,in
           violationofTitle 18.Unitcd StatesCode,Sections924(c)(l)and 2).
                                                   A TRUE BILL


                                                   FO REPERSON



     AttonleyoftheUnite iatesin
     and lbrtheDistrictoccolumbia

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